                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION



 GEORGIA FERRELL, as Administratrix of the Estate
 of JONATHAN A.P. FERRELL (Deceased),
                       Plaintiff,

 vs.                                                                3:14-cv-00047-GCM

 CITY OF CHARLOTTE, COUNTY OF
 MECKLENBURG, RANDALL W. KERRICK, both
 individually and in his official capacity as a law
 enforcement officer with the Charlotte-Mecklenburg
 Police Department, and RODNEY A. MONROE, in
 his official capacity as a law enforcement officer with
 the Charlotte-Mecklenburg Police Department,
                                 Defendants.



                               STIPULATION OF DISMISSAL

       It is stipulated by Plaintiff, GEORGIA FERRELL, as Administratrix of the Estate of
JONATHAN A.P. FERRELL (Deceased), and Defendants, CITY OF CHARLOTTE,, RANDALL
W. KERRICK, both individually and in his official capacity as a law enforcement officer with the
Charlotte-Mecklenburg Police Department, and RODNEY A. MONROE, in his official capacity as
a law enforcement officer with the Charlotte-Mecklenburg Police Department, that all claims
pending in this action be voluntarily dismissed with prejudice pursuant to Rule 41(a)(1) of the
Federal Rules of Civil Procedure. Each party shall bear their own costs, including attorneys’ fees.

       This the 21st day of May, 2015.

                                               /s/ Charles G. Monnett III
                                              Charles G. Monnett III
                                              Attorney for Plaintiff
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                            /s/ Daniel E. Peterson
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                            /s/ Robert McDonnell
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing pleading or other document was filed
electronically using CM/ECF which will send notification of such filing to counsel for each of the
following parties:

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       This the 21st day of May, 2015.

                                             /s/ Charles G. Monnett III
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